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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                              FORT LAUDERDALE DIVISION


  MARCELIN LIBERAL, individually, and on
  behalf of all others similarly situated,

  Plaintiff,                                            Case No. 0:22-cv-60450-RS

  v.

  HEALTHCARE REVENUE RECOVERY
  GROUP, LLC and MEMORIAL REGIONAL
  HOSPITAL SOUTH AUXILIARY, INC.,

  Defendants.


                              PLAINTIFF’S TRIAL WITNESS LIST
         Plaintiff, MARCELIN LIBERAL (“Plaintiff”), hereby submits Plaintiff’s Trial Witness

 List as follows:

         1. Plaintiff will provide testimony as to the facts that give rise to his claims and his
            damages.

               Contact Information:

               Plaintiff may be contacted through his undersigned counsel.

         2. Corporate Representative for Healthcare Revenue Recovery Group, LLC (“HRRG”) is
            expected to provide testimony on (1) communications between HRRG and Plaintiff;
            (2) communications between HRRG and Memorial Regional Hospital South Auxiliary,
            Inc. (“MRSH”) regarding the alleged debt(s) owed by Plaintiff; (3) the collection calls
            placed by HRRG to Plaintiff’s cellular phone; (4) the technology HRRG employed to
            place the collection calls; (5) the identities of any third parties that may have placed
            calls on behalf of HRRG to Plaintiff’s cellular phone; (6) the collection calls placed to
            the putative class members; and (7) the identities of the putative class members.
               Contact Information:
               HRRG may be contacted through its counsel of record.
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       3. Corporate Representative for Memorial Regional Hospital South Auxiliary, Inc.
          (“MRH”) is expected to provide testimony on (1) the medical services it allegedly
          provided Plaintiff that gave rise to the debt(s) allegedly owed by Plaintiff; (2) the
          placement of the alleged debt(s) with HRRG for collection; and (3) communications
          between MRH and HRRG.
          Contact Information:
          3600 Washington St.
          Hollywood, Fla 33021
          (954) 966-4500



       4. Corporate Representative for T-Mobile US, Inc. (“T-Mobile”) is expected to provide
          testimony on its business records for Claimant’s phone number, including HRRG’s
          phone calls to Plaintiff.
          Contact Information:
          3625 132nd Ave. SE
          Bellevue, WA 98006
          (877) 413-5903
 Dated: November 18, 2022                         Respectfully Submitted,

                                                  /s/ Alexander J. Taylor
                                                  Alexander J. Taylor
                                                  SULAIMAN LAW GROUP, LTD.
                                                  2500 South Highland Avenue
                                                  Suite 200
                                                  Lombard, Illinois 60148
                                                  (630) 575-8180
                                                  ataylor@sulaimanlaw.com
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                                 CERTIFICATE OF SERVICE

        I, Alexander J. Taylor, certify that on November 18, 2022, I caused the foregoing

 Plaintiff’s Trial Witness List to be served upon counsel of record, as listed below, via email.


                                    Ernest H. Kohlmyer, III
                              Email: SKohlmyer@Shepardfirm.com
                                     Counsel for Defendant

                                                                     /s/ Alexander J. Taylor
